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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                           §
                                                  §
 FREE SPEECH SYSTEMS, LLC,                        §           Case No. 22 - 60043
                                                  §
                                 DEBTOR.          §
                                                  §           Chapter 11 (Subchapter V)


 DEBTOR’S REPLY TO UNITED STATES TRUSTEE’S AMENDED OBJECTION TO
    THE APPLICATION OF DEBTOR FOR AN ORDER (A) AUHTHORIZING
 EMPLOYMENT OF SHANNON & LEE LLP AS BANKRUPTCY CO-COUNSEL FOR
           THE DEBTOR, AND (B) GRANTING RELATED RELIEF

          Free Speech Systems, LLC (the “Debtor” or “FSS”), the debtor and debtor-in-possession

in the above-captioned chapter 11 case, replies to the U.S. Trustee’s amended objection [ECF. No.

154] (the “Objection”) to the Application of Debtor for an Order (A) Authorizing Employment of

Shannon & Lee LLP as Bankruptcy Co-Counsel for the Debtor and (B) Granting Related Relief

[ECF No. 85] (the “S&L Application”) as follows:

                                 PRELIMINARY STATEMENT

          1.     The U.S. Trustee does not dispute any of the allegations in the S&L Application or

contend that S&L does not meet the requirement to be employed under Bankruptcy Code § 327(a).

There is no disagreement that (a) S&L does not hold or represent any disqualifying adverse interest

and is a “disinterested person” as that term is defined in Bankruptcy Code § 101(14) (Application

¶¶ 21 & 26); (b) the FSS Lee Declaration disclosed all relevant connections in this case

(Application ¶ 29); (c) S&L is well qualified and uniquely able to represent FSS in its chapter 11

case in an efficient and timely manner (Application ¶ 11); (d) the familiarity of S&L professionals

with the Sandy Hook Litigation was particularly important to the Debtor as debtor in possession

in the early parts of the case (Application ¶ 8); or (e) S&L’s agreed terms of reimbursement,
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compensation, and hourly rates are reasonable (Application ¶ 14). Nor does the U.S. Trustee assert

that denial of the S&L Application would benefit the Debtor’s estate or aid administration of the

case.

         2.       Instead, the basis for the Objection is that Kyung Lee did not supplement his

declaration (the “IW Lee Declaration”) in support of the IW Debtors’ application to employ Kyung

S. Lee PLLC (“KSLPLLC”) in Case No. 22-60022 (the “IW Cases”) in the four (4) business days

between May 24, 2022, when Mr. Lee met with FSS regarding its potential restructuring, and June

1, 2022, when the U.S. Trustee and the IW Debtors agreed to the dismissal of the IW Cases.1 The

U.S. Trustee wants this Court to not only find that Mr. Lee’s disclosure violated Bankruptcy Rule

2014, but also that the violation was so severe that it warrants what is in effect imposing a sanction

in a different case by denying the application of a different Debtor to employ a different law firm.

The U.S. Trustee’s position is not supported by the law or facts.

         3.       Bankruptcy Rule 2014 requires a verified statement disclosing connections to

accompany an application to employ, and courts have held that Bankruptcy Code 327(a) implies

that the obligation continues for professionals that are employed by or are seeking employment by

the estate. But Mr. Lee and KSLPLLC were no longer seeking to be employed in the IW Debtors’

cases when he began providing services to FSS on May 24, 2022.2 After reaching agreements

resolving the claims of the Connecticut Plaintiffs (on May 13, 2022) and the Texas Plaintiffs (on

May 18, 2022), the IW Debtors decided to agree to dismiss their cases as demanded by the U.S.


1
  Of the seven (7) total days the trustee takes issue with, May 28-30, 2022, comprised the Memorial Day weekend.
On May 25, Mr. Lee informed the U.S. Trustee and the Subchapter V Trustee by email that the IW Debtors intended
to dismiss their case. A copy of this email is attached as Exhibit A hereto. On May 26, Mr. Lee attended the section
341 meeting of creditors for the IW Debtors, at which he informed the parties in attendance that the IW Debtors had
decided to agree to the dismissal of their cases, as requested by the U.S. Trustee, and would work to effectuating such
dismissal. On May 27, 2022, Mr. Lee was negotiating the stipulation of dismissal with the U.S. Trustee that was
ultimately filed with the Court on June 1.
2
  Mr. Lee was not formally retained by FSS until June 6, 2022. The services provided by Mr. Lee in May 2022 were
related to becoming familiar with FSS and its financial condition.


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Trustee. By May 23, 2022, Mr. Lee had drafted a motion to dismiss the IW Cases. Mr. Lee was

not at that time seeking to be retained as an estate professional in any meaningful way. IW Debtors

had already decided not to employ Mr. Lee or any other professionals.

         4.       Further, even if Mr. Lee was required by Bankruptcy Rule 2014 and Bankruptcy

Code 327(a) to supplement his disclosure of connections despite the IW Debtors’ decision to

dismiss, that oversight would not justify denying this Debtor’s application to employ Shannon &

Lee LLP in this chapter 11 case. None of the authorities cited in the Objection support that position

and the relief would be entirely unprecedented.3 While the Court has discretion to consider factors

beyond just compliance with Bankruptcy Code 327(a), that discretion should be reasonably

applied. What matters is whether employing S&L benefits the Debtor’s estate and furthers

administration of its chapter 11 case. The U.S. Trustee does not dispute these issues favor

approving the employment of S&L.

         5.       Whether Mr. Lee’s disclosures in the IW Cases were sufficient should be addressed

separately from the Application. The procedurally proper way for the U.S. Trustee to raise the

issue would be to reopen the IW Cases and seek sanctions against Mr. Lee. Inflicting collateral

damage on the Debtor, its estate, and the administration of this chapter 11 case by denying the

Application is entirely unjustified.

                                                 ARGUMENT

    A. Mr. Lee’s Disclosures in the IW Cases Complied with Bankruptcy Rule 2014.

         6.       Bankruptcy Rule 2014 requires applications to employ professionals to “be

accompanied by a verified statement of the person to be employed setting forth the person's



3
  While this might seem like hyperbole, it is not. Attached as Exhibit B hereto is a summary and analysis of each of
the twenty-seven cases cited in the Objection. Not a single case cited in the Objection supports what the U.S. Trustee
asks the Court to do here.


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connections with the debtor, creditors, any other party in interest, their respective attorneys and

accountants, the United States trustee, or any person employed in the office of the United States

trustee.” As the U.S. Trustee states in the Objection, the “one primary purpose” of these disclosures

is “to facilitate strict compliance with section 327.” Objection ¶ 45.

       7.      Although the text of Bankruptcy Rule 2014 does not require continuing disclosures,

courts have held that Bankruptcy Code § 327 implies this obligation. See, e.g., In re C & C Demo,

Inc., 273 B.R. 502, 507 (Bankr. E.D. Tex 2001) (holding that although Rule 2014(a) does not

expressly require supplemental or continuing disclosure, duty is implied pursuant to § 327); In re

Keller Fin. Serv. of Florida, 243 B.R. 806, 813 (Bankr. M.D.Fla. 1999) (duty of continuing

disclosure under Rule 2014(a) is implied by requirements of § 327); In re Granite Partners, L.P.,

219 B.R. 22, 35 (Bankr. S.D.N.Y. 1998) (Section 327(a) implies a duty of continuing disclosure

and requires professionals to reveal connections that arise after their retention.). The reasoning is

that ongoing disclosures are necessary to ensure that the professionals that have been retained

remain conflict free. The Fifth Circuit Court of Appeals has adopted this reasoning and held that

professionals employed or seeking employment as estate professionals must “to promptly notify

the court if any potential for conflict arises.” I.G. Petroleum, L.L.C. v. Fenasci (In re W. Delta Oil

Co.), 432 F.3d 347, 355 (5th Cir. 2005).

       8.      No court has held that Bankruptcy Rule 2014 requires ongoing disclosure by

persons that are not seeking to be employed as an estate professional, such as when a case has been

That makes sense—the “one primary purpose” of the disclosures required under Bankruptcy Rule

2014 no longer exists when the professional will not be employed under Bankruptcy Code § 327.

The U.S. Trustee is asking for the Court to create law, not apply it.




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        9.      When Mr. Lee met with FSS on May 24, 2022, the IW Debtors had already

determined to dismiss their chapter 11 cases when Mr. Lee first provided services to FSS. At that

time the IW Debtors were no longer seeking to employ KSPLLC or any other party in interest as

an estate professional. By May 18, 2022, the IW Debtors had effectively resolved all the claims of

the Texas Plaintiffs [see Case No. 22-60020, Dkt No. 96] and the Connecticut Plaintiffs [see Case

No. 22-60020, Dkt. No. 98]. Soon after the IW Debtors determined that continuing their cases in

the face of the U.S. Trustee’s continued opposition did not benefit the IW Debtors or their

remaining creditors. By Monday, May 23, 2022, Mr. Lee had drafted a motion to dismiss the IW

Debtors’ bankruptcy cases.4 And Mr. Lee promptly informed the U.S. Trustee by email on May

25, 2022, and other parties in interest at the 341 meeting on Thursday, May 26, 2022, that the IW

Debtors intended to seek dismissal of their cases. Mr. Lee then promptly negotiated a stipulation

of dismissal with the U.S. Trustee that was finalized and filed with the Court on June 1, 2022.

        10.     Under these circumstances, Mr. Lee did not have an obligation to supplement his

disclosures related to the IW Debtors’ application to employ KSLPLLC. On May 24, the IW

Debtors were no longer seeking to employ KSLPPC or Mr. Lee under Bankruptcy Code § 327(a).

The statute therefore did not imply a duty to provide further disclosures at that time. The Objection

presents cites no authority to the contrary.

        11.     If the U.S. Trustee believed that ongoing disclosure of connections in the IW Cases

was necessary to maintain the integrity of the bankruptcy process, the motion to dismiss those

cases should have been withdrawn. The thrust of the U.S. Trustee’s motion to dismiss—that the

IW Cases were a litigation tactic—no longer applied because the Texas Plaintiffs and the

Connecticut Plaintiffs no longer asserted claims against the IW Debtors. Supplemental disclosures


4
 A copy of an email from Mr. Lee to Marc Schwartz, Christian Schwartz, and Harold Lee of Schwartz & Associates
LLC reflecting that Mr. Lee had drafted a motion to dismiss the IW Cases is attached as Exhibit C hereto.


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would have of course been necessary if the IW Cases had continued and the IW Debtors sought to

employ KSLPLLC. But the U.S. Trustee opposed the IW Debtors remaining in bankruptcy the

cases and the IW Debtors believed that the expense of that fight would outweigh any benefit.

Ultimately, the U.S. Trustee’s demands are the reason that a supplemental disclosure by Mr. Lee

was not necessary.5

    B. Even if Mr. Lee Should Have Supplemented His Disclosures in the IW Cases, the
       Debtor’s Application to Employ Shannon & Lee LLP in this Case Should Be
       Approved.

         12.      Of course, the sufficiency of Mr. Lee’s disclosure of KSLPLLC’s connections

related to the IW Debtors’ application to employ KSLPLLC in their cases is not the issue that the

Court has to decide in the Application. The issue before the Court is whether it should authorize

FSS to employ Shannon & Lee LLP as bankruptcy co-counsel in this chapter 11 case. The Court

should reject the U.S. Trustee’s improper request to indirectly punish Mr. Lee through this

contested matter and grant the Application.

         13.      The U.S. Trustee does not dispute that the Application and S&L meet all the

requirements of Bankruptcy Code 327(a) and Bankruptcy Rule 2014 for employment in the

Debtor’s chapter 11 case. Nor does the U.S. Trustee dispute the allegations in the Application that

(a) S&L does not hold or represent any disqualifying adverse interest and is a “disinterested

person” as that term is defined in Bankruptcy Code § 101(14) (Application ¶¶ 21 & 26); (b) Mr.

Lee’s declaration in this chapter 11 case disclosed all relevant connections in this case (Application

¶ 29); (c) S&L is well qualified and uniquely able to represent FSS in its chapter 11 case in an




5
 As indicated in the May 17, 2022, email from Jayson Ruff to Mr. Lee, attached hereto as Exhibit D, the U.S. Trustee’s
took the position in the IW Cases was that the remaining creditors—including holders of administrative claims—
should be paid outside of the bankruptcy process from FSS and/or Alex Jones. That the U.S. Trustee now complains
that “the Court never had the opportunity to rule on [KSLPLLC’s] employment application in the InfoW Cases” is
nothing but hypocrisy.


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efficient and timely manner (Application ¶ 11); (d) the familiarity of S&L professionals with the

Sandy Hook Litigation was particularly important to the Debtor as debtor in possession in the early

parts of the case (Application ¶ 8); or (e) S&L’s agreed terms of reimbursement, compensation,

and hourly rates are reasonable (Application ¶ 14). Most importantly, the U.S. Trustee does not

contend that Debtor’s employment of S&L is not the best interests of the Debtor’s bankruptcy

estate or useful to administration of the chapter 11 case.

       14.     Every decision that the U.S. Trustee cites in the objection that is relevant to the

topic indicates that the effect on the bankruptcy estate and administration of the case are the proper

considerations that should guide the Court’s discretion. The most clearly relevant include:

     a. In re LTHM Houston-Operations, LLC, 2014 WL 5449737 (Bankr. S.D. Tex. 2014)—In
        LTHM, the U.S. Bankruptcy Court for the Southern District of Texas held that it “is
        instructed to exercise its discretion by taking into account the facts of a particular
        bankruptcy case and the overall objectives of the bankruptcy system. Section 327(a)
        acknowledges that the purpose of the professional's employment is to represent or assist
        the trustee in carrying out the trustee's duties under this title. Accordingly, the Court must
        consider whether the benefits of employing [the professional] exceed the potential impact
        it may have on the trustee's ability to fulfill his duties to the estate.” Id. at *5 (internal
        citations and quotation marks omitted).

     b. In re Bigler, LP, 422 B.R. 638 (Bankr. S.D. Tex. 2010)—In Bigler, the U.S. Bankruptcy
        Court for the Southern District of Texas considered an application to employ an
        investment bankruptcy firm that included a “tail period” provision under which the
        proposed professional would receive compensation even if the debtors consummated a
        transaction after terminating the employment agreement. The court held that in exercising
        its broad discretion, the court “focuses on whether the proposed terms are reasonable.”
        Id. at 643.

     c. In re Smith, 507 F.3d 64 (2d Cir. 2007)— As directly quoted in the Objection, the Second
        Circuit Court of Appeals reasoned in Smith that “[i]n exercising its approval function,
        however, the bankruptcy court should interfere with the trustee’s choice of counsel only
        in the rarest cases, such as when the proposed attorney has a conflict of interest, or when
        it is clear that the best interest of the estate would not be served by the trustee’s choice.”
        Id. at 71.

     d. Harold & Williams Dev. Co., 977 F.2d 906 (4th Cir. 1992)—The Fourth Circuit Court
        of Appeals was even more clear in Harold & Williams, instructing that “once the trustee
        meets the burden of demonstrating that an applicant for professional employment is
        qualified under § 327 . . . the discretion of the bankruptcy court must be exercised in a


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          way that it believes best serves the objectives of the bankruptcy system. Among the
          ultimate considerations for the bankruptcy courts in making these decisions must be the
          protection of the interests of the bankruptcy estate and its creditors, and the efficient,
          expeditious, and economical resolution of the bankruptcy proceeding.” Id. at 910
          (internal citations omitted).

The U.S. Trustee does not present a single case that even suggests that the Court should exercise

its discretion to deny an application to employ a professional that meets the requirements of

Bankruptcy Code § 327 because the circumstances created by the U.S. Trustee’s demand for

immediate dismissal in a previous case is contrary to his new-found appreciation and desire for

the disclosures that would have been required absent such dismissal.6

        15.     Denying the Debtor’s Application to employ Shannon & Lee LLP would harm the

Debtor’s bankruptcy estate and hinder administration of this chapter 11 case. Although Mr.

Battaglia is an excellent bankruptcy attorney—as he has demonstrated several times in this case—

this matter is not a one-man job. And retaining any other attorney would not possess the significant

knowledge and experience of the Debtor and the relevant litigation for which the Debtor retained

S&L in this case. Again, the U.S. Trustee does not assert otherwise in the Objection.

    C. If the Court Determines that Some Action Should Be Taken in this Chapter 11 Case
       to Address Mr. Lee’s Disclosures in the IW Cases, the Debtor Submits that the Court
       Should Limit Shannon & Lee LLP’s Compensation in this Case by an Appropriate
       Amount Considering the Novelty of the Issue.

        16.     The U.S. Trustee is in effect seeking a sanction against Mr. Lee for actions related

to a different case, for a different client, and for a different law firm with the Debtor as collateral

damage. See, e.g., In re EBW Laser, Inc., 333 B.R. 351, 359-60 (Bankr. M.D.N.C. 2005) (“The

Bankruptcy Court may, in its discretion, disqualify counsel, or deny compensation, as a sanction

for failure to make the disclosure required by Rule 2014.”) (quoted by the U.S. Trustee); In re



6
  The U.S. Trustee has not filed any motion to enforce Bankruptcy Rule 2019 in these cases, so disclosure and
transparency appear to be important to the U.S. Trustee only sometimes.



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Granite Partners, L.P., 219 B.R. 22, 41 (Bankr. S.D.N.Y. 1998) (analyzing disqualification for

failure to disclose connections as a sanction). That request is inappropriate, is not supported by

applicable law, and should be denied.

           17.     However, if the Court concludes that Mr. Lee’s disclosure in the IW Cases was

deficient and that some action should be taken in this chapter 11 case, the Debtor submits that a

reasonable action would be that the compensation for S&L allowed in this case should be reduced

by the compensation received by KSLPLLC received from FSS prior to June 1, 2022. These

amounts total $24,409.09.7

           18.     In the alternative, In re Byington, 454 B.R. 648 (Bankr. W.D. Va. 2011), may

present a framework for an appropriate way to address any failure by Mr. Lee to disclose

connections in the IW Cases. In Byington, the attorney for two individual chapter 11 debtors did

not disclose payments from the debtors’ son—against whom the estate had potential avoidance

action claims—that were used to pay the debtors’ filing fee. Id. at 660. Although the court

determined that the attorney’s disclosures were insufficient, it declined to deny the debtors’

application to employ the attorney because of the apparent novelty of the issue and instead ruled

that compensation would not be approved for the attorney’s services relating to correcting the

deficiency or in asserting that the disclosure was not required. Id. Here, the U.S. Trustee’s

assertions are entirely unprecedented.

           19.     While not justified, either of these options would better proportioned to the conduct

that the U.S. Trustee asserts violated Bankruptcy Rule 2014—Mr. Lee not disclosing his meeting

with FSS in the four (4) business days that elapsed before the filing of the stipulation of dismissal




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    A copy of KSLPLLC’s invoice for the period from May 24, 2022, to May 31, 2022, is attached hereto as Exhibit E.


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in the IW Cases—than denying the Application and derailing the Debtor’s chapter 11 case. If the

Court takes any action, it should be a measured one.

                                         CONCLUSION

       20.     If the U.S. Trustee believes that Bankruptcy Rule 2014 required Mr. Lee to disclose

his meeting with FSS in the IW Cases, even though the IW Debtors had at that time agreed to the

U.S. Trustee’s own motion to dismiss, there is a way to raise that issue. But it is not in objecting

to the employment of a different law firm, by a different debtor, in a different case. There is no

dispute that S&L meets the requirements for employment or that its employment will benefit the

estate and administration of this chapter 11 case. The Application should therefore be granted.

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Dated: September 16, 2022           LAW OFFICES OF RAY BATTAGLIA, PLLC

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served (a) at
the time of filing, by the Electronic Case Filing System for the United States Bankruptcy Court for
the Southern District of Texas on all parties registered to receive such service and (b) within one
hour of filing, by email on the following parties:

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